PROB!Z

REvls‘"’“’5"'°")€@18€ 2:89-cr-20219-.]DB Document 42 Filed 08/10/05 Page 1 of 4 Page|D 1
UNITED STATES DISTRICT COURT

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for "%\ D.r_:_
05 AUG 15

 

WESTERN DISTRICT OF TENNESSEE AH la 18
WESTERN DIVISION fHU,-*,§"'“ y ,-.
___““_""__‘ CLE)?,-<, Lg,§"?~ff- ath
H'F"Ut“).§' §
U.S.A. vs. Kevin W. Booth Docket No. 2:89-CR2.0219 “ '

 

 

 

Petitl'on on Probation and Supervised Release

COMES NOW Michelle R. Sims PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Kevin W. Booth Who was placed on supervision by the Honorable Odell
Horton sitting in the Court at Memphis, Tennessee, on the l_(_)_tl_l day of _M_ay, 1990 Who fixed the period of`
supervision at three (3 1 years* , and imposed the general terms and conditions theretofore adopted by the Court
and also imposed Special Conditions and terms as follows:

 

* Tenn of Supervised Release began on November 3, 2004, in the Northem Distriet of Calif`orm`a.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(If short insert here; if lengthy write on separace sheet and attach}

The defendant shall not commit another federal, state or local crime.

Mr. Booth was arrested by the San Jose, California Police Department after a routine traffic stop revealed the
defendant was driving under the influence of a controlled substance A subsequent search of the vehicle
revealed a small baggy containing cocaine. The defendant was charged With Possession of a Controlled
Substance (felony) and Being Under the lnfluence of Cocajne and Methamphetamine (misdemeanor). The
defendant is presently in state custody with a Court date of August 2, 2005.

PRAYING 'I`HAT THE COURT WILL ()RDER that a WARRANT be issued for Kevin W. Booth to answer
charges of Supervised Release violations.

BOND:

 

ORDER OF COURT

l declare under the penalty of perjury that the

Considered and ordered thisq:'dhy

dr , 20 0 ;/ and ordered
filed made a part of the records
in the ab case.

 

    

Place: Memt)his` TN
Date: Julv 26* 2005

This document entered on the docket sheet in comptiance

With Hu|a 55 andfc)r 32(b) FHCrP on i/_\M__ @

Case 2:89-cr-20219-.]DB |§),pémm§§~g&eps?_i%é%q!% Page 2 of 4 Page|D 2

 

 

 

 

 

1. Defendant Kevin W. Booth (|ncarcerated: San Jose, California}
2. Docket Number (Year-Sequence-Defendant No.) 2:890R20219
Districthftice Westem District of Tennessee {Memphis)
4. Original Sentence Date __5_ l L l _L
month day year
(rr different than above):
5. Original Districthffice
6. Original Docket Number (Year-Sequence-Defendant No.)
7. List each violation and determine the applicable grade w §731.1}:
Violationjs§ Y_d_e
0 New Criminal Conduct: Possession of a Controlled Substance (Felony) B

 

c New Crimina| Conduct: Being!nder the lnfluence of Cocainell\l|ethamphetarnine (Misdemeanog

 

 

 

 

 

 

8. Most Serious Grade of Violation (see §7B1.1(b)) B
9. Criminal History Category lsee §781.4(a)}74 V|
21 - 27 months

 

 

10. Range of imprisonment (B §?B1.4(a})

 

Statutory maximum sentence: 50 months
11. Sentencing Options for Grade B and C Vio|ations On|y (Check the appropriate box):
{ } (a)|f the minimum term of imprisonment determined under §7B1.4 (Term of |mprisonment) is at least one month but not
more than six months, §7B1.3(c)(‘l) provides sentencing options to imprisonment

{ } (b)lf the minimum term of imprisonment determined under §781.4 (Term of lmprisonment) is more than six months but
not more than ten months, §7B1.3(c)(2) provides sentencing options to imprisonmentl

{X} (c)lf the minimum term of imprisonment determined under §7B1 .4 (Term of lmprisonment) is more than ten months, no
sentencing options to imprisonment are available

Mail documents to: United States Sentencin Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 0004, Attention: Monitoring Unit

Defe\;`dant_ KerIl§§`e §é§t§-Cr-ZOZlQ-.]DB Document 42 Filed 08/10/05 Page 3 of 4 Page|D 3

12.

13.

14.

15.

 

Unsatisfied Conditions of Origina| Sentence

List any restitution, fine, community confinement home detention, or intermittent confinement previously imposed in connection
with the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {see §751.3(d)}:

 

 

Restitution ($) NIA Community Confinement NIA
Fine ($) NlA Home Detention NIA
Other NIA intermittent Confinement NIA

 

Supervised Release

lt probation is to be revoked, determine the tength, if any, of the term of supervised release according to the provisions of §§5D1 .1-

1-31'&€ §§751»3(9)(1)}-
Term: NIA to NIA years

lf supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible
upon revocation, the defendant may, to the extent permitted by law, be ordered to reoommence supervised release upon release
from imprisonment isee 18 U.S.C. §3583(e) and §781 .3(g)(2)}.

Period of supervised release to be served following release from imprisonment

 

Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

Official Detention Adjustment {see §7B1.3{e}}: months days

Mail documents to: United Staties Sentencing Commission, 1331 Pennsytvania Avenue, N.W.
Surhe 1400, Washington, D.C., 20004, Athention: Moniton“ng Unit

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Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:89-CR-202]9 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

Dan NeWsom

U.S. ATTORNEY'S OFFICE
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Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

